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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:20-cv-22009-MGC


 COÖPERATIEVE RABOBANK U.A.,
 NEW YORK BRANCH, BROWN BROTHERS
 HARRIMAN & CO., BANK HAPOALIM B.M,
 MITSUBISHI INTERNATIONAL CORPORATION,
 ICBC STANDARD BANK PLC, TECHEMET
 METAL TRADING, LLC, MERCED PARTNERS
 LIMITED PARTNERSHIP, ATHILON CAPITAL
 CORP., LLC, and HAIN CAPITAL INVESTORS
 MASTER FUND, LTD.,

        Plaintiffs,
 v.

 EISNERAMPER LLP,

       Defendant.
 __________________________________________/

                                           STIPULATION

         WHEREAS, plaintiffs filed this action in the Circuit Court of the 11th Judicial Circuit in
 and for Miami-Dade County, Florida, seeking damages against defendant Eisner in connection
 with its audit of Republic Metals Corporation (“Republic”);
        WHEREAS, defendant timely removed this case to this Court pursuant to 28 U.S.C. §§
 1334(b), 1367, 1441, 1446, and 1452, and filed a motion to transfer the case pursuant to 28
 U.S.C. § 1404(a) to the Southern District of New York, where a bankruptcy action involving
 Republic is proceeding before The Honorable Sean H. Lane, In re Miami Metals, Case No. 18-
 13359(SHL);
         WHEREAS, the plaintiffs intend to move to remand the case to state court under the
 abstention doctrines pursuant to 28 U.S.C. § 1334(c) and equitably under 18 U.S.C. §§ 1447 and
 1452;
         WHEREAS, in the interest of avoiding the expense and delay of contesting transfer,
 plaintiffs are willing to stipulate to the case transferring to the bankruptcy court in the S.D.N.Y,
 so that Judge Lane can decide the abstention and remand motion;
        NOW, THEREFORE, it is hereby stipulated and agreed that
        1.      This civil action shall be transferred to the Southern District of New York
 pursuant to 28 U.S.C. § 1404(a);
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        2.       If the case is not automatically referred to the bankruptcy court, the parties will
 submit a joint letter to the District Court Judge recommending that the case be referred to the
 bankruptcy court judge for pretrial purposes pursuant to the Amended Standing Order of
 Reference, 12 Misc. 00032 (M10-468), but without prejudice to the parties’ rights later to object
 or contest the bankruptcy court’s jurisdiction on any ground, to seek to withdraw the reference,
 to demand that the case be tried before a District Judge, or otherwise;
         3.    Defendant Eisner’s time to move or answer in response to the complaint is
 extended to 30 days following the decision by the bankruptcy court on Plaintiffs’ motion to
 abstain.
         4.      This stipulation is for the convenience of the parties and to conserve judicial
 resources and shall not be used by any party as evidence against any other party with respect to
 any issue in the case, including questions concerning jurisdiction, choice of law, and the like.
        Respectfully submitted,
 /s/Richard H. Critchlow, Esq.                                /s/Andrew T. Solomon, Esq.
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 Dated: May 27, 2020
